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11                          IN THE UNITED STATES DISTRICT COURT
12                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
13
14   GAVIN NEWSOM, in his official capacity as             Case No. 3:25-cv-04870-CRB
     Governor of the State of California, et al.,
15
16           Plaintiffs,                                   [PROPOSED] ORDER TO INCREASE
                                                           PAGE LIMITS
17                   v.
18
     DONALD J. TRUMP, in his official capacity as
19   President of the United States of America, et al.,

20
             Defendants.
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22
            Pursuant to the Parties’ stipulation, IT IS SO ORDERED that:
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24          The Government shall respond to Plaintiffs’ Motion for a Temporary Restraining Order

25   in no more than thirty (30) pages of substantive text. Plaintiffs shall reply in support of their
26
     Motion in no more than twenty (20) pages of substantive text.
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28




                                                          [PROPOSED] ORDER TO INCREASE PAGE LIMITS
     Case 3:25-cv-04870-CRB   Document 36       Filed 06/12/25   Page 2 of 2




     SO ORDERED.
 1
 2   Dated: June 12, 2025                         _______________________
                                                  HON. CHARLES R. BREYER
 3                                                United States District Judge
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                                         [PROPOSED] ORDER TO INCREASE PAGE LIMITS
